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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


TAMARA M. LOERTSCHER,

        Plaintiff,                                           ORDER ON SEALING OF
   v.                                                           DOCUMENTS

ELOISE ANDERSON, in her official capacity                          14-cv-870-jdp
as Secretary of the Department of Children
and Families, and BRAD D. SCHIMEL, in his
official capacity as Attorney General of the
State of Wisconsin,

        Defendants.


        The purpose of this order is to solicit defendants’ prompt response concerning the

sealed status of plaintiff’s exhibits.

        The exhibits to plaintiff’s complaint are the records of the Children in Need of

Protection and Services (CHIPS) proceeding to which she has been subjected, and under

Wisconsin law they are confidential. Wis. Stat. § 48.396(2)(a). Accordingly, plaintiff was

constrained to file these exhibits with a contemporaneous motion to seal them. Dkt. 2. But

plaintiff actually wants those records to be public, a point made in her opposition to her own

motion to seal. Dkt. 3. The court granted the motion to seal, subject to reconsideration after

further briefing from the parties. Dkt. 6.

        Plaintiff filed a motion for preliminary injunction on January 7, 2015. In support of

her motion, plaintiff submits three exhibits: Exhibit A is the CHIPS petition; Exhibits B and

C are some of plaintiff’s medical records. Dkt. 16. Plaintiff has filed a motion asking that

Exhibit A be made public, but that her medical records, Exhibits B and C, remain under seal.

Dkt. 15.

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          Plaintiff’s request is reasonable. The public has a strong interest in the conduct of the

CHIPS proceeding that is at the heart of her challenge to 1997 Wis. Act 292, codified at,

inter alia, Wis. Stat. § 48.133 et seq. The public also has a legitimate interest in some aspects

of plaintiff’s medical information, particularly the information that purportedly justified the

CHIPS proceeding, and any information plaintiff invokes in support of her challenge to 1997

Wis. Act 292. But otherwise plaintiff ought to be able to maintain the privacy of her medical

records, which include very personal information relating to her mental and reproductive

health.

          The court has granted plaintiff’s motion to seal as to Exhibits B and C of Dkt. 16.

Dkt. 24. It is inclined to unseal Exhibit A to Dkt. 16 and the exhibits to Dkt. 1. But the

court will not do so without defendants’ input. Defendants should promptly inform the

court, not later than January 14, 2015, whether they oppose unsealing these exhibits and the

basis for any opposition.


          Entered January 9, 2015.

                                               BY THE COURT:
                                               /s/
                                               JAMES D. PETERSON
                                               District Judge




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